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Tel: (541) 312-5150
E-mail: todd@wardgrover.com

       Attorney for Defendant John Jordan


                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON

                                EUGENE DIVISION

 UNITED STATES OF AMERICA,
                                                  Case No. 6:18-cr-00492-1-MC
                  Plaintiff,
                                                  APPENDICES TO DEFENDANT’S
 v.                                               SENTENCING MEMORANDUM

 JOHN WIDENER JORDAN,

                  Defendant.




       Defendant John Jordan, through attorney Todd Grover, submits the following

appendices to his contemporaneously filed sentencing memorandum.

       DATED this 19th day of September, 2020.

                                            s/ Todd H. Grover
                                            _______________________________
                                            TODD H. GROVER, OSB #98244
                                            WARD GROVER & ASH
                                            Tel: (541) 312-5150
                                            Attorney for John Jordan




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                                                      OFFICIAL RECORD OF DESCRIPTIONS ..,
                                                              OF REAL PROPERTY
                                                                 COUNTY ASSESSOR'S OPF'tC:I!:.




    PRINEVILLE LAKE ACRES UNIT 2

    Lot 11     Blk 29

    Davis , Gilbert & Marion
    % Duffy, G. T. V29260                                         plat    1•16·75
   DaVis, Gilbert a: Marion
   %Central  Oregon Sun Country Inc                 V#31510         WI>
                                                                   QCD
   Central Oregon Sun Country, Inc.              V~3791             WD 6--1?-81
   % Jordan, Harry      C&    Leora P.      V# 43967             Cont     7-9-81
·:·· ~Estate ·toazi:FUftd-~~ L'l'D
.: % . Jonta.n. · ·~· .9..&_ Le:ora" l,.~:.· v#~4J.h'22
    Michalek. Stanley & Rose
   % Jordan, Ba..rr;y. C & Leora      P.    V#   44622.
    Jordan, Harry c. & Leora  P.   V#52501        WD 6-18-86
  JORDAN, Leora P                                DC 1-21-97
  Annex to Crook County Rural Fire Protection
    District #1 Taxing Zone 3           Order #97-13 4-29-99
Nelson, Carol & Jordan, Robert Oyde                                    8/4/17 .
Jordan, Robert Oyde & Jordan, R Oyde & Debra atic                   QC 8/ 4/17
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                                                                      Department of the Treasury

                                                             Bureau of Alcohol, Tobacco and Firearms


                                                                             Washington, DC 20226

                                         September 5, 1999

        Transfers of National Firearms Act Firearms in Decedents’ Estates

The National Firearms Act (NFA) Branch continually responds to questions regarding NFA
firearms in decedent’s estates. We often find that Federal firearms licensees are involved in
assisting the executors in disposing of these firearms. We believe some general information and
discussion of procedures will help licensees in these situations.

As you may be aware, the registration information we maintain is tax information and any
disclosure of this information is generally prohibited. We may lawfully provide registration
information to the executor of an estate. If there is any question regarding the registration status
of the firearms in the estate for which you are assisting the executor, advise the executor to
contact the NFA Branch directly and provide proof of his or her appointment as executor.

If there are unregistered NFA firearms in the estate, these firearms are contraband and cannot be
registered by the estate. The executor of the estate should contact the local ATF office to arrange
for the abandonment of the unregistered firearms.

For registered NFA firearms in the estate, the executor should take action as soon as possible to
arrange for the proper registration of the firearms. Possession of an NFA firearm not registered to
the possessor is a violation of Federal law and the firearm is subject to seizure and forfeiture.
However, we do allow the executor a reasonable time to arrange for the transfer of the registered
firearms in a decedent’s estate. This generally should be done before probate is closed.

It is the responsibility of the executor of the estate to maintain custody and control of the
firearms and to transfer the firearms registered to the decedent. The firearms may not be
transferred to another party, such as a firearms licensee, for consignment or safekeeping. This
would be a transfer subject to the requirements of the NFA. The licensee may assist the executor
by identifying purchasers and acting as a broker.

The firearms may be transferred on a tax-exempt basis to a lawful heir. The executor would
apply on ATF Form 5, Application for Tax Exempt Transfer and Registration of a Firearm, for a
tax-exempt transfer to a lawful heir. A lawful heir is anyone named in the decedent’s will or, in
the absence of a will, anyone entitled to inherit under the laws of the State in which the decedent
last resided. NFA firearms may be transferred directly interstate to a beneficiary of the estate.
When a firearm is being transferred to an individual heir, his or her fingerprints on FBI Forms




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FD-258 must accompany the transfer application. However, if any Federal, State or local law
prohibits the heir from receiving or possessing the firearm, ATF will not approve the application.

ATF Form 4 is used to apply for the taxpaid transfer of a serviceable NFA firearm to a person
outside the estate (not a beneficiary). ATF Form 5 is also used to apply for the tax-exempt
transfer of an unserviceable NFA firearm to a person outside the estate. As noted above, all
requirements, such as fingerprint cards for transfers to individuals and compliance with State or
local law, must be met before an application may be approved. If an NFA firearm in the estate
was imported for use as a “sales sample,” this restriction on the firearm’s possession remains.
The NFA firearm may only be transferred to a Federal firearms licensee who has paid the special
(occupational) tax to deal in NFA firearms or to a government agency.

For further information, contact:

Bureau of Alcohol, Tobacco, Firearms & Explosives
National Firearms Act Branch
244 Needy Road
Martinsburg, West Virginia 25405

Voice: (304) 616-4500
Fax: (304) 616-4501

Revised: February 23, 2006




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                             CERTIFICATE OF SERVICE

    I hereby certify that I served APPENDICES TO DEFENDANT’S SENTENCING
MEMORANDUM on:

Nathan Lichvarcik
Assistant U.S. Attorney
United States Attorney’s Office
405 E. 8th Avenue, Suite 2400
Eugene, Oregon 97401

       Attorney for Plaintiff United States of America

by electronic case filing and/or electronic mail.

       DATED this 19th day of September, 2020.

                                              s/ Todd H. Grover
                                              _______________________________
                                              TODD H. GROVER, OSB #98244
                                              WARD GROVER & ASH
                                              Tel: (541) 312-5150
                                              Attorney for John Jordan




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